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as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                    Debtor in a Foreign Proceeding.


                                NOTICE OF STATUS CONFERENCE

          PLEASE TAKE NOTICE that a Status Conference in the above matter has been

scheduled for January 13, 2015, at 1:30 p.m. (prevailing Central time) before the Honorable

Stacey G. C. Jernigan, United States Bankruptcy Judge for the Northern District of Texas, 1100

Commerce Street, Courtroom 1428, Dallas, Texas 75242-1496.


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Dated:      Dallas, Texas                 GARDERE WYNNE SEWELL LLP
            November 3, 2014

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